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In the United States Court of Appeals
        for the Fifth Circuit
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A. Petitioners

1. Electronic Security Association
2. Interactive Advertising Bureau
3. NCTA The Internet & Television Association
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 B. Attorneys for Petitioners

     Helgi C. Walker                     Allyson N. Ho
     Lucas C. Townsend                   Brad G. Hubbard
     Michael P. Corcoran                 Brian A. Richman
     Lael Weinberger                     Gibson, Dunn & Crutcher LLP
     Connor P. Mui                       2001 Ross Avenue, Suite 2100
     Gibson, Dunn & Crutcher LLP         Dallas, TX 75201
     1700 M Street, N.W.
     Washington, DC 20036

 C. Respondent

    Federal Trade Commission

 D. Attorneys for Respondent

    Anisha Dasgupta
    General Counsel
    Federal Trade Commission
    600 Pennsylvania Avenue, N.W.
    Washington, D.C. 20580
    (202) 326-2424
    adasgupta@ftc.gov

Dated: November 5, 2024                /s/ Helgi C. Walker
                                       Helgi C. Walker
Allyson N. Ho                          Lucas C. Townsend
Brad G. Hubbard                        Michael P. Corcoran
Brian A. Richman                       Lael Weinberger
GIBSON, DUNN & CRUTCHER LLP            Connor P. Mui
2001 Ross Avenue                       GIBSON, DUNN & CRUTCHER LLP
Suite 2100                             1700 M Street, N.W.
Dallas, TX 75201-2923                  Washington, DC 20036-4504
                                       (202)
Counsel for Petitioners
                                       hwalker@gibsondunn.com
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